              Case 4:21-cv-00471-JM Document 1 Filed 06/01/21 Page 1 of 15
                                                                                       FILED
                                                                                    U.S. DISTRICT COURT
                                                                                EASTERN DISTRICT ARKANSAS

                                                                                       JUN O1 2021
                                                                            JAMES W. McCORMACK, CLERK

                          IN TEHA~~;~EgI~i~T~:          g~sI~~~~~RBY:                          ~cLERK

                                       CENTRAL DIVISION

DAREL ADELSBERGER                                                                       PLAINTIFF
AND ANNETTE ADELSBERGER

V.                                          Case No.   1:2/-c..v- )./71- JM
UNION PACIFIC RAILROAD COMPANY                                                        DEFENDANT

                                                                 This case assigned to District Judge    Moo~}
                                      NOTICE OF REMOV AI.and to Magistrate Judge          ~R. . tM-~~-------
         Defendant, Union Pacific Railroad Company ("Defendant"), by its attorneys, Friday,

Eldredge & Clark, LLP, removes the above-captioned action from the Circuit Court of Pulaski

County, Arkansas, to the United States District Court for the Eastern District of Arkansas,

Central Division, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and states as follows:

         1.       On or about March 29, 2021, Plaintiff filed a Complaint against Defendant in the

Circuit Court of Pulaski County, Arkansas, styled as Dare/ Adels berger and Annette Adelsberger

v. Union Pacific Railroad Company, Case Number 60CV21-2065 ("State Court Action" or

"Complaint"). A true and correct copy of the Complaint, and all of the process, pleadings,

orders, and documents from the State-Court Action, is attached hereto collectively as Exhibit 1

to the original Notice of Removal.

         2.       Defendant was served with the Summons and Complaint on May 20, 2021. Thus,

this Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b).

         3.       As more fully described below, this Court has original jurisdiction over this action

pursuant to 28 U.S.C. § 1332 because it is a civil action in which the amount in controversy




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exceeds the sum of $75,000.00, exclusive of costs and interest, and it is between citizens of

different states.

           4.      First, it is apparent that the amount in controversy exceeds $75,000.00. In the

Complaint, Plaintiff alleges that Defendant's track altered the natural flow of surface water so

that drainage of Plaintiffs land (and their salvage business) was damaged. In Paragraph 14 of

the Complaint, Plaintiff expressly alleges that it has suffered the full use of their real property,

damage to real and personal property, business interruptions and decreased value of both real and

personal property in an amount that is in "excess of the current minimum federal jurisdictional

limits."

           5.      Second, there is complete diversity between Plaintiff and Defendant. Plaintiffs'

Complaint alleges they own real property located in Pulaski County, Arkansas where they do

business. Compl.           1 1.   Upon information and belief, Plaintiffs are domiciled in the State of

Arkansas and, for purposes of diversity jurisdiction, Plaintiffs are citizens of Arkansas.

           6.      Plaintiffs' Complaint alleges that Defendant is a foreign company.         Id.   1   2.

Defendant is a Delaware corporation with its principal place of business in the State of Nebraska.

           7.      Thus, at the time of the filing of the Complaint and at the present time, there is

complete diversity between Plaintiff and Defendant.

           8.      Venue is proper in the Eastern District of Arkansas, Central Division, pursuant to

28 U.S.C. § 1441(a) because this Court is the United States District Court for the district and

division corresponding to the place, Pulaski County, where the action is pending.

           9.      By virtue of this Notice of Removal, Defendant does not waive its right to

respond to the Complaint and/or to assert any claims, defenses, or other motions.




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         10.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders

served upon Defendant in the State Court Action are attached to the Original Notice as Exhibit

1.

         11.      This Notice of Removal will be served on all adverse parties consistent with 28

U.S.C. § 1446.

         12.      A true and correct copy of this Notice of Removal was filed with the Clerk of the

Circuit Court of Pulaski County, Arkansas, pursuant to 28 U.S.C. § 1446.

         13.      The allegations of this Notice of Removal are true and correct and this cause of

action is within the jurisdiction of the United States District Court for the Eastern District of

Arkansas, Central Division, and this cause of action is removable to the United States District

Court for the Eastern District of Arkansas, Central Division.

         WHEREFORE, Defendant, Union Pacific Railroad Company, respectfully prays that this

Court will consider this Notice of Removal, that this Court will make the proper orders to

achieve the removal of the State Court Action to this Court, and that this Court will make such

other orders as may be appropriate to effect the preparation and filing of a true record in this

cause of action of all proceedings that may have been had in the State Court Action.



Dated: June 1, 2021


                                                                          No. 87176)
                                                            rx1"'1f-r"l~"Har
                                                 Jamie       fman Jones (AR Bar No. 2003125)
                                                 400 W. Capitol Avenue, Suite 2000
                                                 Little Rock, Arkansas 72201
                                                 tucker(a),fridayfirm.com
                                                 jjones@,fridayfirm.com

                                                 Attorneys for Defendant



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                                CERTIFICATE OF SERVICE

        I, Jamie Huffman Jones, do hereby certify that the foregoing is being filed electronically
with the Court and that the following individual(s) will receive a copy of same via the court's
electronic filing notification system and via US Mail, postage prepaid, on or about this ~day of
June, 2021:

         Robert Hodge III
         Hodge, Calhoun, Giattina, PLLC
         711 W. 3rd Street
         Little Rock, Arkansas 72201




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                                                                                  ELECTRONICALLY FILED
                                                                                        Pulaski County Circuit Court
                                                                                  Terri Hollingsworth, Circuit/County Clerk
                                                                                     2021-Mar-29 09:54:57
                                                                                        S0CV-21-2065
                                                                                       C06D06 : 3 Pages




                IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                  CIVIL DIVISION

DAREL ADELSBERGER and
ANNETTE ADELSBERGER                                                                 PLAINTIFFS

       Vs.                     CASE NO. _ _ _ _ _ _ __

UNION PACIFIC RAILROAD COMPANY                                                      DEFENDANT


                                           COMPLAINT



       COME NOW the Plaintiffs by their attorneys signing herein assert the following action
against the Defendant:

       1. The plaintiffs own real property located in Pulaski County, Arkansas, where they own

and operate an automobile salvage and used parts business (AA Auto).
       2. The defendant is a foreign corporation registered to do business in Arkansas.

       3. All relevant actions and matters occurred in Pulaski County, and this Court has
jurisdiction over the parties to and subject matter of this action.

       4. At all times material to this action. the defendant used and was responsible for
maintaining railroad tracks and facilities in this state.

       5. One track passes through Section 2, Township 2 North, Range 11 West, Pulaski
County where the plaintiffs' property is located at 8125 Highway 161, North Little Rock. When

that track was built, the surrounding area was terraformed, and the track permanently altered
the natural flow of surface water so that drainage of the adjacent land (including the plaintiffs')

was dependent upon trestles, culverts and drainage facilities required to be maintained by the
defendant




                                                                                                  •I         EXHIBIT



                                                                                                   I
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        6. The culvert crucial to proper drainage of the plaintiffs' property is a double culvert

located at approximately the south corner of the Waste Management landfill at Interstate 440

near Highway 161 in Pulaski County. Attached as Exhibit 1 is a photograph reflecting the

location of the culvert.

        7. When that culvert is blocked, water cannot drain from the area, and it causes flooding

of the surrounding area including the plaintiffs' property.

        8. The defendant was required to maintain that culvert and keep it clear so that water

would not accumulate and damage the surrounding area. From at least 2013 to the present,

the defendant failed to properly maintain and clear the culvert and blocked the proper drainage

of water.

       9. During that time, the defendant's negligent maintenance of the culvert caused water

to flood the plaintiffs' property thereby damaging both real and personal property and caused

further loss through the interruption of the operation of their business.

       10. The defendant owed a duty to the plaintiffs to properly maintain the culvert and

drainage facilities, and the defendant's negligence in maintaining those facilities was the

proximate cause of damage to the plaintiffs' property and their business losses.             The

accumulated water also created a nuisance by attracting snakes to the area.

       11. The effect of the defendant's negligence is cumulative, and the plaintiffs' property

continues to be in danger of flooding from accumulating rainfall.

       12. Such negligence includes but is not limited to causing the natural flow of water to be

blocked; failing to anticipate water accumulation and the damage caused therefrom; failing to

take remedial action to reduce or eliminate blockage and flood water accumulation; failing to

keep clean and open natural and man-made drainage paths for water that accumulates because

of the defendant's tracks; and otherwise failing to exercise due care under the circumstances.

       13. The plaintiffs repeatedly notified the defendant of the problem over the years, yet

the defendant failed to properly maintain the culvert and drainage facilities.
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       14. As a direct and proximate result of the defendant's negligence the plaintiffs suffered

and will suffer in the foreseeable future loss of the full use of their real property; damage to real

and personal property; business interruption and losses; and decreased value of both real and

personal property, all in excess of the current minimum federal jurisdictional limits.

       WHEREFORE, the plaintiffs request entry of judgment against the defendant in such

amount as may be ultimately determined by jury trial together with their costs and all further

relief to which they may be entitled.
                                                      Respectfully Submitted,

                                                      DAREL ADELSBERGER &
                                                      ANNETTEADELSBERGER

                                              By:     ls/Robert E. Hodge Ill
                                                      Robert E. Hodge III
                                                      AR Bar No. 2011097
                                                      Attorney for Plaintiffs
                                                      Hodge Calhoun Giattina, PLLC
                                                      711 W. 3rd St
                                                      Little Rock, AR 72201
                                                      T: (501) 404-4874
                                                      F: (501) 404-4865
                                                      rob@hcglawoffice.com
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                    IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                      HON. TIM FOX - 6TH DIVISION PULASKI CIRCUIT COURT

                      DAREL ADELSBERGER ET AL V UNION PACIFIC RR CO

                                              S0CV-21-2065

                                               SUMMONS

THE STATE OF ARKANSAS TO DEFENDANT:

UNION PACIFIC RAILROAD COMPANY
124 W. Capitol Ave.
Suite 1900
c/o C T Corporation System
Little Rock, AR 72201

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint. Within
30 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas - you must file with
the clerk of this court a written answer to the complaint or a motion under Rule 12 of the Arkansas
Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or plaintiff's attorney, whose name and
address are:

Robert Edwin Hodge, Ill
711 W. 3rd St.
Little Rock, AR 72201

If you fail to respond within the applicable time period, judgment by default may be entered against
you for the relief demanded in the complaint.

Additional notices:
•Notice of Right to Consent to Disposition of Case by a State District Court Judge
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                                           CLERK OF COURT
Address of Clerks Office

TERRI HOLLINGSWORTH, CIRCUIT CLERK
CIRCUIT COURT OF PULASKI COUNTY
401 W. MARKHAM
                                           Crystal Hill, DC
LITTLE ROCK, AR 72201

                                           Date: 03/29/2021
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                              NOTICE OF RIGHT TO CONSENT
                TO DISPOSITION OF CASE BY A STATE DISTRICT COURT JUDGE

In accordance with Administrative Order Number 18, you are hereby notified that upon the consent of
all the parties in a case, a State District Court Judge may be authorized to conduct all proceedings,
including trial of the case and entry of a final judgment. Copies of appropriate consent forms are
available from the Circuit Clerk.

You should be aware that your decision to consent or not to consent to the disposition of your case
before a State District Court Judge is entirely voluntary, and by consenting to the reference of this
matter to a State District Court Judge, the parties waive their right to a jury trial, and any appeal in the
case shall be taken directly to the Arkansas Supreme Court or Court of Appeals as authorized by law.

You should communicate your consent by completing the Form -- CONSENT TO PROCEED
BEFORE A STATE DISTRICT COURT JUDGE -- and return to the Circuit Clerk.




                                                      Circuit Clerk
                                                      Date: 03/29/2021
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No. 60CV-21-2065 This summons is for UNION PACIFIC RAILROAD COMPANY (name of
Defendant).



                                          PROOF OF SERVICE

O On _ _ _ _ _ _ _ _ [date] I personally delivered the summons and complaint to the individual
at                                                        [place]; or

O After making my purpose to deliver the summons and complaint clear, on _ _ _ _ _ _ __
[date] I left the summons and complaint in the close proximity of the defendant by
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [describe how the
summons and complaint was left] after he/she refused to receive it when I offered it to him/her; or

O On _ _ _ _ _ _ _ _ [date] I left the summons and complaint with _ _ _ _ _ _ _ _ , a
member of the defendant's family at least 18 years of age, at _ _ _ _ _ _ _ _ _ _ __
[address], a place where the defendant resides; or

o On _ _ _ _ _ _ _ _ [date] I delivered the summons and complaint to _ _ _ _ _ _ __
[name of individual], an agent authorized by appointment or by law to receive service of summons on
behalf of _ _ _ _ _ _ _ _ _ _ _ [name of defendant]; or

O On _ _ _ _ _ _ _ _ [date] at _ _ _ _ _ _ _ _ _ _ _ _ [address], where the
defendant maintains and office or other fixed location for the conduct of business, during normal
working hours I left the summons and complaint with

[name and job description]; or

O I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I served the summons
and complaint on the defendant by certified mail, return receipt requested, restricted delivery, as
shown by the attached signed return receipt.

o I am the plaintiff or an attorney of record for the plaintiff in this lawsuit, and I mailed a copy of the
summons and complaint by first-class mail to the defendant together with two copies of a notice and
acknowledgment and received the attached notice and acknowledgment form within twenty days after
the date of mailing.

D Other [specify]:



O I was unable to execute service because:
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My fee is $ _ _ .

To be completed if service is by a sheriff or deputy sheriff:

Date: - - - - - -              SHERIFF OF _ _ _ COUNTY, ARKANSAS


                               By:-------------
                               [Signature of server]



                               [Printed name, title, and badge number]

To be completed if service is by a person other than a sheriff or deputy sheriff:

Date: - - - - - -              By: _ _ _ _ _ _ _ _ _ _ _ __
                               [Signature of server]



                               [Printed name]

Address:
           ---------------------------

Phone:
         -------------
Subscribed and sworn to before me this date: - - - - - -



                               Notary Public

My commission expires: _ _ _ _ _ _ _ __

Additional information regarding service or attempted service:
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                                                                                ELECTRONICALLY FILED
                                                                                     Pulaski County Circuit Court
                                                                               Terri Hollingsworth, Circuit/County Clerk
                                                                         2021-May-19 16:23:11
                                                                             60CV-21-2065
                  IN THE CIRCUIT COURT OF PULASKI     COUNTY, ARKANSAa-·__c_o_5 o_o_5_:_2 _P-'ag;;...e_s_ __,
                                    CIVIL DIVISION


DAREL ADELSBERGER and                                                           PLAINTIFFS
ANNETTE ADELSBERGER

vs.                         CASE NO. 60CV-21-2065

UNION PACIFIC RAILROAD COMPANY                                                  DEFENDANT



                                 ENTRY OF APPEARANCE


       COMES NOW, Timothy J. Giattina, and for his Entry of Appearance states that has been

retained by the Plaintiffs, Darel Adelsberger and Annette Adelsberger, in addition to Robert

E. Hodge and respectfully requests he be entered as an attorney of record accordingly.

      WHEREFORE, Timothy J. Giattina of Hodge Calhoun Giattina, PLLC, prays that he be

entered as attorney of record for Dare) Adelsberger and Annette Adelsberger in the above-

captioned case.

                                          Respectfully Submitted,


                                          ls/Timothy[. Giattina
                                          Timothy J. Giattina
                                          AR Bar No. 2011271
                                          Hodge Calhoun Giattina, PLLC
                                          711 W. 3rd St
                                          Little Rock, AR 72201
                                          T: (501) 404-4874
                                          F: (501) 404-4865
                                          tim@hcglawoffice.com
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                                      CERTIFICATE OF SERVICE

         I, Timothy J. Giattina, do hereby certify that I served the foregoing document on this
18th   day of May 2021 to via electronic filing to all counsel of record.


                                             /s/fimotli11 J; Giattina
                                                         -
                                             Timothy J. Giattina
